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     UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT

                                             )

                                             )

CASSANDRA JOHNSON-LANDRY                             )
DEBTOR                                       )                      BRC 18-55697 LRC



                       CERTIFICATE OF SERVICE CLARIFICATION


As ordered in Order dated May 41 '\ 2021 Debtor submitted communication to identified pa11ies

as outlined, Given Debtor located two addresses for the Bureaus Inc, Debtor mailed to both

 Evanston Illinois and Northbrook Ill. Each claim for each claim listed was mailed separately,

 Debtor did contact The Bureaus today due to receiving returned mail from the Bureaus previous

address in Evanston Ill. As stated, Debtor mailed to the Northbrook address on the same day,

 Debtor sent returned mail to the No11hbrook address, to maintain consistency and avoid any

discussion of Services not properly conducted. In order words, the Bureau was serviced twice.

(EXHIBIT A),


As reported previously, the bureau as it pertains to debtor contacting them personally did not

have a working number. Debtor recorded the entire process. Debtor utilized a different route to

reach a live representative who informed Debtor the Credit Bureau has not been updated with the

correct address for a period od nine years, According to Credit reporting Laws this is not legal

and a violation of Consumer Fair Reporting Act. Often submitted Bankruptcy Claims contain an

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